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8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA             ) CR. NO. S-05-0034-LKK
12                                        )
                       Plaintiff,         )
                 v.                       ) ORDER SETTING STATUS DATE
13
                                          ) AND EXCLUDING TIME
     LINDA CHANEY,                        )
14   JAY McCASTLE,                        )
     DAVID TALCOTT USSERY, and            )
15   ROBERT ROBINSON,                     )
16                                        )
                       Defendants.
                                          )
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18        Based upon request of the parties and representations made in

19   open court on November 15, 2005, IT IS HEREBY ORDERED:

20        This matter is set over for a motions hearing on December 13,

21   2005.

22        The government<s oppositions to the defendants' previously-

23   filed motions shall be filed November 29; defendants< reply briefs

24   due December 6, 2005.

25        The Court finds that the matter is complex in that there are

26   multiple defendants, evidence that needs to be reviewed with

27   incarcerated defendants, and that the defendants< counsel reasonably
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1    require additional time to review discovery with their clients and

2

3    to conduct investigation for effective preparation for the motions

4    hearings and to make informed decisions regarding resolution of the

5    case.

6         The Court further finds that the ends of justice served by

7    granting the defendant's counsel time to diligently investigate and

8    prepare outweigh the interest of the defendant and the public in a

9    speedy trial.

10        Accordingly, the Court orders that time shall be excluded until

11   December 13, 2005 under the Speedy Trial Act, 18 U.S.C. §

12   3161(h)(8)(iv) (T-4 / preparation and continuity of counsel).

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14   Date: November 18, 2005

15                                            /s/ Lawrence K. Karlton
                                              HONORABLE LAWRENCE K. KARLTON
16                                            SENIOR DISTRICT COURT JUDGE
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